Case 1:15-mj-O0800-JMC Document 1-1 Filed 04/20/15 Page 1 of 2 d/

THE UNITED STATES DISTRICT COURT FOR THE -
DISTRICT OF MARYLAND 15 0 8 0 0 JMC

AFFIDAVIT

I, Jonathan D. Shaffer, a Special Agent (SA) with the Federal Bureau
of Investigation {FBI}, Baltimore Division, Baltimore, Maryland, being duly
sworn, depose and state as follows:

1. I have been emploved as a Special Agent of the FBI for approximately
six years, and am currently assigned to the Annapolis Resident Agency,
Baltimore Division. Among my responsibilities are the investigation,
apprehension, and arrest of Violent Crime Offenders and Fugitives. This
affidavit is in support of a criminal complaint and arrest warrant charging
Bhadreshkumar C. Patel, date of birth, May 15, 1990, with Unlawful Flight
to Avoid Prosecution, in violation of Title 18, United States Code, Section
1073.

2. This affidavit is intended to show that there is sufficient probable
cause for the requested complaint and arrest warrant. This affidavit does
not purport to set forth all my knowledge or all investigation information
in this matter. The facts set forth in this affidavit are based upon
information obtained from investigative reports, interviews, and debriefings
with other law enforcement officers and witnesses. The facts set forth in
this affidavit are also based upon my participation in this investigation,
including my personal knowledge, observations, training, and experience.

3. On April 13, 2015,, Bhadreshkumar C.-Patel (B. Patel) was charged
by the Anne Arundel County: Police Department for first and second degree
murder as well as first and second degree assault. On April 12, 2015, B.
Patel was working at Dunkin Donuts with his wife, Palak Patel, when he struck
her with a large kitchen style knife across the face, causing massive trauma
which led to her death.

4. On April 13, 2015, the Anne Arundel County Police Department
discovered that B. Patel retrieved his passport, issued in India, from his
residence. Investigators also learned that B. Patel listed a New Jersey
address on his I-94 form upon arrival in the country. On April 16, 2015,
a witness, who positively identified B. Patel from a photograph, described
how she drove B. Patel in a taxi from a location across the street from the
crime scene to a Best Western Hotel in Newark, New Jersey, which is just
outside the Newark International Airport.

5. On April 16, 2015, the Office of the State’s Attorney for Anne
Arundel County, Maryland, and the Anne Arundel County Police Department
requested FBI assistance, pursguant.to Title 18, United States Code, Section
1073, Unlawful Flight to Avoid Prosecution, to locate and apprehend
Bhadreshkumar ¢€. Patel. State's Attorney Wes Adams of the Office of the
Case 1:15-mj-0O0800-JMC Document 1-1 Filed 04/20/15 Page 2 of 2

State's Attorney for Anne Arundel County, Maryland approves extradition of
Bhadreshkumar C. Patel from wherever he is located.

6. Based upon the foregoing facts and circumstances, your affiant
submits that there is probable cause to believe that the individual known
as Bhadreshkumar C. Patel has fled the state of Maryland, in violation of
Title 18, United States Code, Section 1073, Unlawful Flight, to Avoid

Prosecution.
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Jonathan D. Shaffer, /fpecial Agent
Federal Bureau of Investigation

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Subscribed and sworn before me on this of April, 2015.

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Y/ Mark COUTEOr 2
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